                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             DOCKET NO.: 5:06CR22-4

UNITED STATES OF AMERICA,           )
                                    )
            vs.                     )                         ORDER
                                    )
JEREMIAH LAMAR TEAGUE,              )
____________________________________)

          THIS MATTER is before the Court on the following filings: Defendant’s Response in

Opposition to the Government’s Notice of Intention to Seek Enhanced Penalties Pursuant to 21

U.S.C. § 851 [Doc. # 285]; the Government’s Notice of Intention to Seek Enhanced Penalties

Pursuant to 21 U.S.C. § 851 [Doc. # 30]; and the Government’s Supplemental Addendum to the

Government’s Notice of Intention to Seek Enhanced Penalties Pursuant to 21 U.S.C. § 851 [Doc.

# 289].

          Defendant objects to the Government’s intention to seek enhanced penalties against him due

to his February 4, 1998 conviction in Wilkes County Superior Court for felony possession with intent

to sell and deliver cocaine. Defendant contends that the Government is relying on a conviction that

was a misdemeanor conviction and that the conviction may not be used for penalty enhancements

under 21 U.S.C. § 851. (Def.’s Resp. pp. 3-4). Defendant seeks evidence from the Government that

Defendant was in fact convicted of a felony in Wilkes County Superior Court. (Id. pp. 4-5). In

response to Defendant’s contention, the Government filed a Supplemental Addendum to its Notice

of Intention to Seek Enhanced Penalties, attaching a copy of the computer print-out of the record of

the judgment against the Defendant in Defendant’s 1998 Wilkes County Superior Court case.

(Govt’s Supp. Add., Att. #1).


                                                  1


    Case 5:06-cr-00022-KDB-SCR              Document 315       Filed 01/11/07      Page 1 of 3
        In addition to Defendant’s request for evidence from the Government regarding Defendant’s

1998 conviction, Defendant requests that this Court hold a hearing on the matter. (Def’s Resp. p. 5).

The Government’s filing of a copy of the 1998 print-out provides adequate proof of the conviction.

However, to the extent that Defendant has any further objections to the Government’s intention to

seek enhanced penalties against the Defendant, they may be raised and addressed at Defendant’s

sentencing hearing. Thus, Defendant’s request for a separate hearing in order for the Government

to prove Defendant’s 1998 Wilkes Count Superior Court conviction is denied.

       Defendant has also requested that this Court appoint an independent fingerprint examiner to

conduct an analysis of the fingerprints taken in connection with Defendant’s 1998 conviction in

order to compare them to the fingerprints taken from Defendant in this case. Defendant has not

demonstrated any need for such an appointment, and such appointment would be an unnecessary

strain on the Court’s limited resources. Defendant’s request is therefore denied.

       IT IS, THEREFORE, ORDERED that Defendant’s request for a hearing in order for the

Government to prove Defendant’s 1998 Wilkes Count Superior Court conviction is denied.

       IT IS FURTHER ORDERED that Defendant’s request for an independent fingerprint

examiner is denied.

       IT IS FURTHER ORDERED that any further matters with regard to the Government’s

intention to seek enhanced penalties against Defendant will be reserved pending Defendant’s

sentencing hearing.




                                                 2


    Case 5:06-cr-00022-KDB-SCR            Document 315        Filed 01/11/07      Page 2 of 3
                                 Signed: January 11, 2007




                                 3


Case 5:06-cr-00022-KDB-SCR   Document 315    Filed 01/11/07   Page 3 of 3
